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 1
                                           NOTE: CHANGES MADE BY THE COURT
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 6
 7                           UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
 8
 9     NANCY SCHWARTZ, Individually and on              Civil No. 2:16-cv-07991-AB-JPR
10     Behalf of All Others Similarly Situated,
                                                        [PROPOSED] PRELIMINARY
11                                    Plaintiff,        APPROVAL ORDER
12                          v.
13
       OPUS BANK, STEPHEN H. GORDON, and
14     MICHAEL L. ALLISON,
15
                                      Defendants.
16
17
18           WHEREAS, Lead Plaintiff Arkansas Public Employees Retirement Fund (“Lead
19     Plaintiff” or “APERS”) on behalf of itself and each of the Class Members, and Opus
20     Bank (“Opus”), Stephen H. Gordon (“Gordon”) and Michael L. Allison (“Allison”)
21     (Opus, Gordon, and Allison are collectively referred to as “Defendants”), by and
22     through their respective counsel, have entered into a settlement of the claims asserted
23     against Defendants in the above-captioned putative class action (the “Action”), the
24     terms of which are set forth in a Stipulation and Agreement of Settlement (the
25     “Stipulation” or “Settlement”), dated as of December 22, 2017; and
26           WHEREAS, Lead Plaintiff has moved, pursuant to Rule 23(e) of the Federal
27     Rules of Civil Procedure, for an Order, among other things, preliminarily approving
28     the Settlement, certifying a Class solely for the purposes of Settlement, and providing

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 1     for notice to potential members of the Class; and
 2           WHEREAS, the Court has read and considered the Stipulation and the exhibits
 3     thereto, including the proposed Notice of Pendency of Class Action and Proposed
 4     Settlement (the “Notice”); the Summary Notice of Pendency of Class Action and
 5     Proposed Settlement (the “Summary Notice”); the Proof of Claim Form, and the
 6     [Proposed] Order and Final Judgment, and found that substantial and sufficient grounds
 7     exist for entering this Preliminary Approval Order;
 8           NOW, THEREFORE, IT IS HEREBY ORDERED:
 9           1.     The Court, for purposes of this Preliminary Approval Order, hereby
10     adopts and incorporates by reference the definitions in the Stipulation, and all capitalized
11     terms used herein, unless otherwise defined, shall have the same meanings as ascribed to
12     them in the Stipulation. As in the Stipulation, unless otherwise explicitly specified
13     herein, all time periods set forth in the Preliminary Approval Order will be computed
14     in calendar days and pursuant to the terms of Rule 6(a) of the Federal Rules of Civil
15     Procedure.
16           2.     The Court preliminarily approves the Stipulation and the proposed
17     settlement embodied therein, including all provisions therein and exhibits attached
18     thereto, as fair, reasonable, and adequate to the Class, subject to further consideration at
19     the Final Approval Hearing.
20           3.     The Court hereby preliminarily certifies the following class for purposes of
21     settlement only (the “Class”) pursuant to Rule 23(a) and 23(b)(3) of the Federal Rules of
22     Civil Procedure: all persons or entities who purchased shares of Opus common stock
23     between January 26, 2015 and January 30, 2017, inclusive. Excluded from the Class are:
24     (1) Defendants and members of the immediate family of any Defendant; (2) any entity in
25     which any Defendant has, or had during the Class Period, a controlling interest; (3) the
26     officers and directors of Opus during the Class Period; and (4) the legal representatives,
27     agents, executors, heirs, successors, or assigns of any of the foregoing excluded persons
28     or entities who assert an interest in Opus common stock through or on behalf of any such

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 1     excluded persons or entities. Also excluded from the Class are any putative Class
 2     Members who exclude themselves by filing a request for exclusion in accordance with
 3     the requirements set forth in the Notice.
 4           4.     With respect to the Class, the Court preliminarily finds, for purposes of
 5     settlement only, that the prerequisites for class certification under Rule 23(a) and Rule
 6     23(b)(3) of the Federal Rules of Civil Procedure have been satisfied, in that: (1) the
 7     number of Class Members is so numerous that joinder of all Class Members is
 8     impracticable; (2) there are questions of law and fact common to the Class Members; (3)
 9     Lead Plaintiff’s claims are typical of the Class’s claims; (4) Lead Plaintiff and Lead
10     Counsel have and will fairly and adequately represent and protect the interests of the
11     Class; (5) the questions of law and fact common to Class Members predominate over any
12     individual questions; and (6) a class action is superior to other available methods for the
13     fair and efficient adjudication of the controversy.
14           5.     Pursuant to Rule 23 of the Federal Rules of Civil Procedure, and for the
15     purposes of settlement only, Lead Plaintiff is preliminarily appointed as class
16     representative for the Class and Cohen Milstein Sellers & Toll PLLC, previously
17     appointed Lead Counsel, is preliminarily appointed counsel for the Class.
18           6.     The Court approves the form, substance, and requirements of the Notice,
19     (annexed hereto as Exhibit A-1), Summary Notice (annexed hereto as Exhibit A-2)
20     (Exhibits A-1 and A-2 are collectively referred to as the “Settlement Notices”); and the
21     Proof of Claim Form (annexed hereto as Exhibit A-3), and finds that the procedures
22     established for publication, mailing, and distribution of the Settlement Notices and Proof
23     of Claim Form substantially in the manner and form set forth in ¶ 7 of this Preliminary
24     Approval Order are in full compliance with the notice requirements of Rule 23 of the
25     Federal Rules of Civil Procedure; Section 21D(a)(7) of the Securities Exchange Act of
26     1934 (the “Securities Exchange Act”), as amended by the Private Securities Litigation
27     Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 78u-4(a)(7); the Constitution of the
28     United States (including the due process clause); and any other applicable law, and

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 1     constitute the best notice practicable under the circumstances and shall constitute due
 2     and sufficient notice to all persons or entities entitled thereto.
 3           7.     The Court approves the appointment of JND Legal Administration as the
 4     Claims Administrator who, under the supervision of Lead Counsel and subject to the
 5     jurisdiction of the Court, shall supervise and administer the notice procedure, as well as
 6     the processing of Claims, as more fully set forth below:
 7                  a.      No later than twenty-one (21) days after entry of the Preliminary
 8     Approval Order (the “Notice Date”), the Claims Administrator shall cause a copy of the
 9     Notice and Proof of Claim Form, substantially in the form annexed hereto as Exhibits A-
10     1 and A-3, respectively, to be mailed by first-class mail, postage pre-paid, to all
11     members of the Class at the address of each such person as set forth in the records of
12     Opus’ stock transfer agent, or who otherwise can be identified through reasonable effort.
13     For the purpose of providing notice to the Class, Opus shall, within ten (10) days
14     following the entry of this Preliminary Approval Order, provide or cause to be provided
15     to the Claims Administrator (at no cost to the Settlement Fund, Lead Plaintiff’s Counsel
16     or the Claims Administrator) its shareholder lists as maintained by its stock transfer
17     agent during the Class Period, in electronic form or such other form as is reasonably
18     available to Opus;
19                  b.      The Summary Notice, substantially in the form annexed hereto as
20     Exhibit A-2, shall be published once in Investor’s Business Daily and on PR Newswire
21     no later than fourteen (14) days after the Notice Date; and
22                  c.      The Stipulation, the Notice, and the Proof of Claim Form shall
23     also be placed on a website (the “Settlement Website”) dedicated to the administration
24     of the Settlement on or before the Notice Date.
25           8.     The Claims Administrator shall use reasonable efforts to give notice to
26     nominee owners such as brokerage firms and other persons or entities who purchased
27     Opus common stock during the Class Period as record owners but not as beneficial
28     owners. Nominees who purchased Opus common stock for beneficial owners who are

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 1     Class Members are directed to: (1) request within fourteen (14) days of receipt of the
 2     Notice additional copies of the Notice and the Proof of Claim Form from the Claims
 3     Administrator for delivery to such beneficial owners; or (2) send a list of the names and
 4     addresses of such beneficial owners to the Claims Administrator within fourteen (14)
 5     days after receipt of the Notice. If a nominee elects to send the Notice and Proof of
 6     Claim Form to beneficial owners, such nominee is directed to mail the Notice and Proof
 7     of Claim Form within fourteen (14) days of receipt of the additional copies of the Notice
 8     and Proof of Claim Form from the Claims Administrator. Upon such mailing, the
 9     nominee shall send a statement to the Claims Administrator confirming that the mailing
10     was made as directed, and the nominee shall retain the list of names and addresses for
11     use in connection with any possible future notice to the Class. Upon full compliance
12     with this Preliminary Approval Order, including the timely mailing of the Notice and
13     Proof of Claim Form to beneficial owners, such nominees may seek reimbursement of
14     their reasonable expenses actually incurred in complying with this Preliminary Approval
15     Order by providing the Claims Administrator with proper documentation supporting the
16     expenses for which reimbursement is sought and reflecting compliance with these
17     instructions, including timely mailing of the Notice and Proof of Claim Form, if the
18     nominee elected or elects to do so. Such properly documented expenses incurred by
19     nominees in compliance with the terms of this Preliminary Approval Order shall be
20     deemed Notice and Administration Costs and paid from the Settlement Fund consistent
21     with the terms of the Settlement.
22           9.     No later than thirty-five (35) days prior to the Final Approval Hearing,
23     Lead Counsel shall cause to be filed with the Clerk of this Court affidavits or declarations
24     of the person or persons under whose general direction the mailing of the Notice and
25     Proof of Claim Form, the publication of the Summary Notice, and the creation of the
26     Settlement Website and posting of relevant documents thereto shall have been made,
27     showing that such mailing, publication, website creation, and postings have been made in
28     accordance with this Preliminary Approval Order.

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 1                                  HEARING: RIGHT TO BE HEARD
 2           10.     The Court will hold a Final Approval Hearing, pursuant to Rule 23(e) of the
 3     Federal Rules of Civil Procedure, on July 20, 2018 at 10 a.m., before the Honorable
 4     André Birotte Jr., in the United States District Court for the Central District of
 5     California, United States Courthouse, 350 West First Street, Los Angeles, California
 6     90012, Courtroom 7B, for the following purposes: (1) to determine whether the proposed
 7     settlement of the Action on the terms and conditions provided for in the Stipulation is
 8     fair, reasonable, adequate, and in the best interests of the Class and should be approved
 9     by the Court; (2) to determine whether the Judgment, substantially in the form attached
10     as Exhibit B to the Settlement, should be entered; (3) to determine, for purposes of
11     settlement, whether the Class should be finally certified; whether Lead Plaintiff should be
12     finally appointed as representative for the Class; and whether Lead Counsel should be
13     finally appointed as counsel for the Class; (4) to determine whether the Plan of
14     Allocation is reasonable and should be approved; (5) to determine whether Lead
15     Counsel’s application for an award of attorneys’ fees and reimbursement of Litigation
16     Expenses incurred by Lead Plaintiff’s Counsel should be granted; and (6) to consider any
17     other matters that may properly be brought before the Court in connection with the
18     Settlement.
19           11.     Papers in support of the Settlement, the Plan of Allocation and Lead
20     Counsel’s application for attorneys’ fees and reimbursement of Litigation Expenses
21     shall be filed no later than thirty-five (35) days prior to the Final Approval Hearing, and
22     any papers in further support thereof shall be filed no later than seven (7) days before
23     the Final Approval Hearing.       If an objection is filed pursuant to ¶ 12 below, any
24     reply papers shall be filed no later than seven (7) days before the Final Approval
25     Hearing.
26           12.     Any member of the Class may appear at the Final Approval Hearing and
27     show cause why the proposed settlement as embodied in the Stipulation should or should
28     not be approved as fair, reasonable, adequate, and in the best interests of the Class, or why

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 1     the Judgment should or should not be entered thereon, and/or to present opposition to the
 2     Plan of Allocation or to the application of Lead Counsel for attorneys’ fees and
 3     reimbursement of Litigation Expenses. However, no Class Member or any other person
 4     shall be heard or entitled to contest the approval of the terms and conditions of the
 5     Settlement, or, if approved, the Judgment to be entered thereon approving the same, or the
 6     terms of the Plan of Allocation or the application by Lead Counsel for an award of
 7     attorneys’ fees and reimbursement of Litigation Expenses, unless that Class Member (1)
 8     has served written objections, by hand, first-class mail postage pre-paid or electronic mail,
 9     upon the following counsel for receipt no later than twenty-one (21) days prior to the Final
10     Approval Hearing:
11      Counsel for Lead Plaintiff:             Cohen Milstein Sellers & Toll PLLC
12
                                                1100 New York Ave. NW
                                                East Tower, Suite 500
13                                              Washington, DC 20005-3964
14                                              Attn: Steven J. Toll
                                                      Daniel S. Sommers
15                                                    S. Douglas Bunch
16                                              stoll@cohenmilstein.com
17      Counsel for Defendants:                 Katten Muchin Rosenman LLP
18
                                                2900 K St. NW
                                                North Tower, Suite 200
19                                              Washington, DC 20007-5118
20                                              Attn: Eric A. Kuwana
                                                eric.kuwana@kattenlaw.com
21
22     and (2) filed said written objections with the Clerk of the United States District Court
23     for the Central District of California no later than twenty-one (21) days prior to the
24     Final Approval Hearing. Any such written objection served and filed as set forth above
25     must include: (a) the full name, address, and telephone number of the objecting Class
26     Member; (b) a list and documentation of all of the Class Member’s transactions in Opus
27     common stock during the Class Period, such as brokerage confirmation receipts or other
28     competent documentary evidence of such transactions, including the amount and date of

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 1     each purchase or sale and the price paid and/or received (including all income received
 2     thereon); (c) a written statement of all grounds for the objection accompanied by any
 3     legal support for the objection; (d) copies of any papers, briefs or other documents
 4     upon which the objection is based; (e) a list of all persons, if any, who will be called to
 5     testify in support of the objection, the subject of their expected testimony and the basis
 6     therefor; (f) a statement of whether the objector intends to appear at the Final Approval
 7     Hearing; and (g) the objector’s signature, even if represented by counsel. If the objector
 8     intends to appear at the Final Approval Hearing through counsel, the objection must also
 9     state the identity of all attorneys who will appear on his, her or its behalf at the Final
10     Approval Hearing. Unless the Court orders otherwise, no member of the Class shall be
11     entitled to object, or otherwise be heard, except by serving and filing written objections as
12     described above. Any person or entity who does not object in the manner prescribed
13     above shall be deemed to have waived such objection and shall be bound by all the terms
14     and provisions of the Settlement and by all settlement-related proceedings, orders and
15     judgments in the Action, including the Judgment, if the Settlement is approved by the
16     Court. By objecting to the Settlement, the Judgment, the Plan of Allocation and/or the
17     application by Lead Counsel for an award of attorneys’ fees and reimbursement of
18     Litigation Expenses, or otherwise requesting to be heard at the Final Approval Hearing, an
19     objector shall be deemed to have submitted to the jurisdiction of the Court with respect to
20     the person’s or entity’s objection or request to be heard and the subject matter of the
21     Settlement, including, but not limited to, enforcement of the terms of the Settlement
22     (including, but not limited to, the release of the Released Claims as against the Released
23     Parties provided for in the Settlement and the Judgment).
24           13.    Any Class Member may hire their own attorney, at their own expense, to
25     represent them in making written objections or in appearing at the Final Approval
26     Hearing. If any Class Member chooses to hire an attorney at their own expense, that
27     attorney must file a notice of appearance with the Court and serve it on Lead Counsel
28


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 1     and Defendants’ Counsel so that the notice is received twenty-one (21) days prior to the
 2     Final Approval Hearing.
 3           14.    All Class Members shall be bound by all determinations and judgments
 4     in the Action concerning the Settlement, whether favorable or unfavorable to the Class.
 5     If the Settlement is approved, all Class Members will be bound by the Settlement, and by
 6     any judgment or determination of the Court affecting Class Members, including the
 7     Judgment and the releases contained therein, regardless of whether or not a Class Member
 8     submits a Proof of Claim Form.
 9           15.    Any Class Member may enter an appearance in the Action, at his, her, or
10     its own expense, individually or through counsel of his, her, or its own choice. If they
11     do not enter an appearance, they will be represented by Lead Counsel.
12           16.    The Court expressly reserves the right to do the following without further
13     notice to members of the Class: (1) reschedule the Final Approval Hearing; (2) approve
14     the Settlement with modification(s) approved by the Settling Parties; (3) modify the Plan
15     of Allocation; and (4) award such attorneys’ fees and reimbursement of Litigation
16     Expenses as the Court finds fair and reasonable. Lead Counsel shall cause any new date
17     for the Final Approval Hearing to be posted on the Settlement Website. The Court retains
18     jurisdiction of this Action to consider all further applications arising out of or otherwise
19     relating to the Settlement; to allow, disallow, or adjust on equitable grounds the Claims
20     of any member of the Class and issue, as appropriate, a Class Distribution Order; and
21     resolve any other issue arising out of or otherwise relating to the Settlement that is
22     otherwise warranted.
23
24
25                                           CLAIMS PROCESS
26           17.    In order to be entitled to participate in the distribution(s) from the Net
27     Settlement Fund, a Class Member must complete and timely submit a Proof of Claim
28     Form in accordance with the instructions contained therein. To be valid and accepted,

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 1   Proof of Claim Forms submitted in connection with this Settlement must be postmarked
 2   no later than one hundred twenty (120) days from the date of the entry of this Order.
 3         18.    The Claims Administrator, subject to the supervision of Lead Counsel
 4   and the Court, will make administrative determinations concerning the acceptance and
 5   rejection of the Proof of Claim Forms submitted by Claimants pursuant to the procedures
 6   set forth in the Settlement. By submitting a Proof of Claim Form, a Claimant shall be
 7   deemed to have submitted to the jurisdiction of the Court with respect to the Claim
 8   submitted, and the Claim will be subject to investigation and discovery under the Federal
 9   Rules of Civil Procedure, provided that such investigation and discovery shall be limited
10   to the Claimant’s status as a Class Member and the validity and amount of their claim.
11         19.    Any Class Member who does not timely submit a valid Proof of Claim
12   Form shall not be eligible to share in the Net Settlement Fund, but nonetheless will be
13   bound by all of the terms of the Settlement, including the releases provided for therein
14   and in the Judgment, and shall be barred and enjoined from bringing any action, claim,
15   or other proceeding of any kind against any Released Party concerning any Released
16   Claim, and shall be bound by any judgment or determination of the Court affecting the
17   Class Members.
18                      REQUEST FOR EXCLUSION FROM THE CLASS
19         20.    A putative Class Member wishing to make a request for exclusion must
20   submit such a request in written form in the manner and to the address designated in the
21   Notice, such that it is received no later than twenty-one (21) calendar days prior to the
22   Final Approval Hearing. Class Members wishing to be excluded from the Class must, in
23   their written request, provide their (1) name, (2) address, (3) telephone number, (4)
24   number of shares of Opus common stock purchased or sold, (5) prices or other
25   consideration paid or received for such shares(s), (6) the date of each purchase or sale
26   transaction, and (7) a statement that the Class Member wishes to be excluded from the
27   Class. The request for exclusion must also be signed by the person or entity requesting
28   exclusion.   All putative Class Members who submit valid and timely requests for

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 1   exclusion in the manner set forth in this paragraph shall have no rights under the
 2   Settlement, shall not share in the distribution of the Net Settlement Fund, and shall not
 3   be bound by the Settlement or Judgment.
 4         21.   Any member of the Class who does not request exclusion from the Class
 5   in the manner stated in this Preliminary Approval Order shall be deemed to have waived
 6   his, her, or its right to be excluded from the Class, and shall forever be barred from
 7   requesting exclusion from the Class in this or any other proceeding, and shall be bound
 8   by the Settlement and the Judgment, including, but not limited to, the release of the
 9   Released Claims as against the Released Parties provided for in the Settlement and the
10   Judgment, if the Court approves the Settlement.
11                         ADDITIONAL SETTLEMENT CONDITIONS
12         22.    The Released Parties shall have no responsibility or liability whatsoever
13   with respect to Taxes, Notice and Administration Costs, or Lead Counsel’s application
14   for an award of attorneys’ fees and reimbursement of Litigation Expenses, which shall
15   all be paid from the Settlement Fund, subject to Court approval to the extent set forth
16   herein or in the Settlement.       Furthermore, the Released Parties shall have no
17   responsibility or liability whatsoever with respect to the Plan of Allocation or Class
18   Distribution Order. The Plan of Allocation, Lead Counsel’s application for an award of
19   attorneys’ fees and reimbursement of Litigation Expenses, and any Class Distribution
20   Order will be considered separately from the fairness, reasonableness, and adequacy of
21   the settlement embodied in the Stipulation. At or after the Final Approval Hearing, the
22   Court will determine whether Lead Counsel’s proposed Plan of Allocation should be
23   approved, the amount of attorneys’ fees and Litigation Expenses to be awarded to Lead
24   Plaintiff’s Counsel, and whether a Class Distribution Order should be entered. Any
25   appeal from any orders relating solely to the Plan of Allocation or solely to Lead
26   Counsel’s application for an award of attorneys’ fees and Litigation Expenses or solely
27   to a Class Distribution Order (or any of them), or any reversal or modification thereof,
28   shall not operate to terminate the Settlement, or preclude the Judgment, if entered by the

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 1   Court, from becoming Final or the Effective Date of the Settlement from occurring.
 2         23.     Only Class Members, the Claims Administrator and Lead Plaintiff’s
 3   Counsel shall have any right to any portion of, or any rights in the distribution of, the
 4   Settlement Fund, unless otherwise ordered by the Court or otherwise provided in the
 5   Settlement.
 6         24.     All funds held in the Escrow Account shall be deemed and considered to be
 7   in custodia legis and shall remain subject to the exclusive jurisdiction of the Court until
 8   such time as such funds shall be distributed pursuant to the Settlement or returned to
 9   Defendants pursuant to the terms of the Stipulation and/or further order of the Court.
10         25.     As set forth in the Stipulation, prior to the Effective Date, the Escrow
11   Agent, without further approval of Defendants or the Court, may pay from the
12   Settlement Fund up to $150,000 in Notice and Administration Costs actually and
13   reasonably incurred. Prior to the Effective Date, payment by the Escrow Agent of any
14   Notice and Administration Costs exceeding $150,000 shall require notice to and
15   agreement from Defendants, through Defendants’ Counsel, which agreement shall not be
16   unreasonably withheld. Subsequent to the Effective Date, without further approval by
17   Defendants, any Released Parties or the Court, the Escrow Agent may pay from the
18   Settlement Fund all reasonable and necessary Notice and Administration Costs in excess
19   of any amount paid prior to the Effective Date. In the event the Effective Date does not
20   occur or the Settlement is otherwise terminated pursuant to its terms, neither Lead
21   Plaintiff, nor Lead Plaintiff’s Counsel, nor the Escrow Agent shall have any obligation to
22   repay any such Notice and Administration Costs actually and properly incurred or paid.
23         26.     The Claims Administrator and its agents are authorized and directed to
24   cause to be prepared any tax returns to be filed for the Settlement Fund and to cause any
25   Taxes due and owing to be paid from the Settlement Fund without further Order of the
26   Court, but subject to the supervision of Lead Counsel, and to otherwise perform all
27   obligations with respect to Taxes and any reporting or filings in respect thereof as
28   contemplated by the Settlement without further order of the Court.

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 1         27.    The fact and terms of this Preliminary Approval Order and the Settlement,
 2   including the exhibits annexed thereto, all negotiations, discussions, drafts and
 3   proceedings in connection with the Settlement, and any act performed or document
 4   signed in connection with the Settlement:
 5                a.     shall not be offered or received against the Released Parties, Lead
 6   Plaintiff or the other Class Members as evidence of, or be deemed to be evidence of, any
 7   presumption, concession or admission by any of the Released Parties or by Lead Plaintiff
 8   or the other Class Members with respect to the truth of any fact alleged by Lead Plaintiff
 9   or the validity, or lack thereof, of any claim that has been or could have been asserted in
10   the Action or in any litigation, or the deficiency of any defense that has been or could
11   have been asserted in the Action or in any litigation, or of any liability, negligence, fault
12   or wrongdoing of the Released Parties;
13                b.     shall not be offered or received against the Released Parties as
14   evidence of a presumption, concession or admission of any fault, misrepresentation or
15   omission with respect to any statement or written document approved or made by any
16   Released Party, or against Lead Plaintiff or any of the other Class Members as evidence
17   of any infirmity in the claims of Lead Plaintiff and the other Class Members;
18                c.     shall not be offered or received against the Released Parties, Lead
19   Plaintiff or the other Class Members as evidence of a presumption, concession or
20   admission with respect to any liability, negligence, fault or wrongdoing, or in any way
21   referred to for any other reason as against any of the foregoing parties, in any arbitration
22   proceeding or other civil, criminal or administrative action or proceeding, other than
23   such proceedings as may be necessary to effectuate the provisions of this Settlement;
24   provided, however, that if the Settlement is approved by the Court, the Released Parties
25   may refer to this Settlement to effectuate the protection from liability granted them
26   hereunder;
27                d.     shall not be construed against the Released Parties, Defendants’
28   Counsel, Lead Plaintiff’s Counsel, or Lead Plaintiff or the other Class Members as an

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 1   admission or concession that the consideration to be paid hereunder represents the
 2   amount which could be or would have been recovered after trial; and
 3               e.     shall not be construed as or received in evidence as an admission,
 4   concession or presumption against Lead Plaintiff or the other Class Members or any of
 5   them that any of their claims are without merit or that damages recoverable under the
 6   Complaint would not have exceeded the Settlement Amount.
 7         28.   There shall be no distribution of any of the Net Settlement Fund to any
 8   Class Member prior to the Effective Date occurring nor until the Court approves, after
 9   appropriate notice to the Class, a Plan of Allocation in an order that has become Final
10   and the Court enters a Class Distribution Order that has become Final.
11         29.   Upon the entry of this Preliminary Approval Order, pending final
12   determination of whether the Settlement should be approved, Lead Plaintiff, all Class
13   Members, and each of them, and anyone who acts or purports to act on their behalf, shall
14   not institute or commence any action which asserts any Released Claim against any
15   Released Party.
16         30.   In the event that the Effective Date fails to occur or the Settlement is
17   otherwise terminated pursuant to its terms, this Preliminary Approval Order shall be null
18   and void, and without prejudice, and none of its terms, except for ¶¶ 25-29, shall be
19   effective or enforceable and the facts of the Settlement shall not be admissible in any
20   trial of this Action, and the Settling Parties shall be deemed to have reverted to their
21   respective status in this Action immediately prior to November 1, 2017, and except as
22   otherwise expressly provided herein or in the Settlement, the parties shall proceed in all
23   respects as if the Settlement and any related orders had not been entered, and any portion
24   of the Settlement Amount paid into the Escrow Account, together with any interest
25   earned or gains thereon, less any amounts for Taxes paid or owing with respect to such
26   interest income and/or gains and/or for Notice and Administration Costs actually
27   incurred and paid or payable, shall be returned by the Escrow Agent to Defendants
28   within fourteen (14) business days after written notification of such event by Defendants

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 1   to Lead Counsel, all as specified in ¶ 48 of the Settlement.
 2         31.    The Court preliminarily finds that the Escrow Account is a “Qualified
 3   Settlement Fund” within the meaning of Section 468B of the Internal Revenue Code of
 4   1986, as amended, and Treasury Regulation § 1.468B-1.
 5
 6       IT IS SO ORDERED.
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 8
 9       DATED: March 12, 2018                ____________________________________
                                                  THE HONORABLE ANDRÉ BIROTTE JR.
10
                                                  UNITED STATES DISTRICT JUDGE
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                          [PROPOSED] PRELIMINARY APPROVAL ORDER
